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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF PUERTO RICO

 IN RE:
                                                         CASE NO. 18-01283
 ARIEL MERCADO ROSADO
                                                         CHAPTER 7
 DEBTOR(S)




                 MOTION TO AMEND SCHEDULE F TO CORRECT ADDRESS OF CREDITOR
                       COOPERATIVA DE AHORRO Y CREDITO DE LAJAS


TO THE HONORABLE COURT:

       Now comes debtor(s) through the undersigned attorney and very respectfully prays and states as follows:
              FIRST: It is hereby requested that schedule F be amended in order to include correct address of
COOPERATIVA DE AHORRO Y CREDITO DE LAJAS
unsecured creditors:

        COOPERATIVA DE AHORRO Y CREDITO DE LAJAS
        PLAZA DEL VALLE
        47 SUR 65 DE INFANTERIA suite 1
        LAJAS, PR 00667-2350

                 SECOND: Amended schedule F herein attached.

WHEREFORE; Debtor respectfully prays the Honorable Court to take notice of amended                                schedule F to
correct address of creditor Cooperativa De Ahorro Y Credito De Lajas.

        NOTICE is given that in asset cases, the creditor has the right to file a Proof of Claim within thirty (30)
days of service of the documents required by this LBR, or within the time set for previously scheduled creditors to
file Proofs of Claim, whichever is later; or within such other time as allowed by Fed. R. Bankr. P. 9006(c) and
ordered by the court.

                                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY than on 7/11/2018, I noticed amended schedule F with a copy of the original Notice of 341 Meeting
of Creditors to the trustee, United States Trustee, and to COOPERATIVA DE AHORRO Y CREDITO DE LAJAS,
PLAZA DEL VALLE, 47 SUR 65 DE INFANTERIA suite 1,LAJAS, PR 00667-2350 and electronically filed the
foregoing with the clerk of the Court using the CM/ECF system which will send notification of such filing to the following: Trustee
assigned to the case, and I hereby certify that I have mailed by the United States Postal Service the document to the following non
CM/ECF participants.


        In Mayaguez, Puerto Rico, this July 11, 2018.

                                              /S/MIRIAM S. LOZADA RAMÍREZ
                                                  ATTORNEY FOR DEBTOR

                                                       TEL 787-834-3004
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                                 FAX 787-986-7346
                              miriamlozada@gmail.com

                               POSTAL ADDRESS:
                             URB. PASEO LOS ROBLES
                                3020 JOSÉ MONGE
                              MAYAGÜEZ, PR. 00682
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 Fill in this information to identify your case:

 Debtor 1                     ARIEL MERCADO ROSADO
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF PUERTO RICO

 Case number           18-01283
 (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          ADA SANCHEZ OCASIO                                     Last 4 digits of account number       5925               $5,630.44         $5,630.44                    $0.00
              Priority Creditor's Name
                                                                     When was the debt incurred?           11/30/2017

              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes


 2.2          IVETTE RODRIGUEZ                                       Last 4 digits of account number       3663                 $715.20              $715.20                 $0.00
              Priority Creditor's Name
                                                                     When was the debt incurred?           11/20/2017

              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 4
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 Debtor 1 ARIEL MERCADO ROSADO                                                                              Case number (if know)            18-01283

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Att Services                                              Last 4 digits of account number         1321                                                            $84.00
            Nonpriority Creditor's Name
                                                                                                              Opened 2/21/03 Last Active
            Po Box 192830                                             When was the debt incurred?             8/03/09
            San Juan, PR 00919
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Agriculture


 4.2        BANCO SANTANDER                                           Last 4 digits of account number         2299                                                        $6,560.00
            Nonpriority Creditor's Name
            PO BOX 362589                                             When was the debt incurred?             Opened 11/27/15
            San Juan, PR 00936-2588
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           loan with Santander Financial number
                                                                                           xxx-2299 dated November 27, 2015. T a
                                                                                           refinance of previous loan number
                                                                                           xxx-6119 made on November 1, 2012. NO
                 Yes                                                     Other. Specify    MONEY WAS DISBURSED TO DEBTOR




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 4
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 Debtor 1 ARIEL MERCADO ROSADO                                                                            Case number (if know)         18-01283

 4.3       Coop A/C Lajas                                            Last 4 digits of account number       0721                                                 $8,757.00
           Nonpriority Creditor's Name
           PLAZA DEL VALLE                                           When was the debt incurred?           Opened 07/16
           47 SUR 65 DE INFANTERIA suite 1
           Lajas, PR 00667-2350
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Debtor had made a loan with Cooperativa
                                                                                         on June 1, 2010, (xxx-0601) which was
                                                                                         refinanced on November 13, 2012 as
                                                                                         loan(xxx11113) and refinanced again on
                                                                                         July 2016 as loan number(xxx-0721, NO
              Yes                                                       Other. Specify   MONEY WAS DISBURSED TO DEBTOR


 4.4       Coop A/c Lajas                                            Last 4 digits of account number       1113                                                 Unknown
           Nonpriority Creditor's Name
           PLAZA DEL VALLE                                           When was the debt incurred?           Opened 11/13/12
           47 SUR 65 DE INFANTERIA suite 1
           Lajas, PR 00667-2350
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5       Jefferson Capital Syst                                    Last 4 digits of account number       9003                                                 $6,456.00
           Nonpriority Creditor's Name
           16 Mcleland Rd                                            When was the debt incurred?           Opened 11/16
           Saint Cloud, MN 56303
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Factoring Company Account for Santander
              Yes                                                       Other. Specify   Financial

 Part 3:      List Others to Be Notified About a Debt That You Already Listed

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 Debtor 1 ARIEL MERCADO ROSADO                                                                            Case number (if know)          18-01283

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AsUME                                                         Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO BOX 71316                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Juan, PR 00936-8416
                                                               Last 4 digits of account number                    5925

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AsUME                                                         Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO BOX 71316                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Juan, PR 00936-8416
                                                               Last 4 digits of account number                    3663

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FRANCISCO VILANOVA                                            Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 MONTALVO                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Address. P.O. BOX 2530
 San German, PR 00683
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FRANCISCO VILANOVA                                            Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 MONTALVO                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Address. P.O. BOX 2530
 San German, PR 00683
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                     6,345.64
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     6,345.64

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    21,857.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    21,857.00




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ARIEL MERCADO ROSADO              IVETTE RODRIGUEZ
HC-2 BOX 11876
LAJAS, PR 00667



MIRIAM LOZADA RAMIREZ             JEFFERSON CAPITAL SYST
MIRIAM LOZADA RAMIREZ             16 MCLELAND RD
URB PASEO LOS ROBLES              SAINT CLOUD, MN 56303
3020 JOSE MONGE
MAYAGUEZ, PR 00682-2000

ADA SANCHEZ OCASIO




ASUME
PO BOX 71316
SAN JUAN, PR 00936-8416



ATT SERVICES
PO BOX 192830
SAN JUAN, PR 00919



BANCO SANTANDER
PO BOX 362589
SAN JUAN, PR 00936-2588



COOP A/C     LAJAS
PLAZA DEL VALLE
47 SUR 65 DE INFANTERIA SUITE 1
LAJAS, PR 00667-2350


COOP A/C LAJAS
PLAZA DEL VALLE
47 SUR 65 DE INFANTERIA SUITE 1
LAJAS, PR 00667-2350


FRANCISCO VILANOVA MONTALVO
ADDRESS. P.O. BOX 2530
SAN GERMAN, PR 00683
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                                                               United States Bankruptcy Court
                                                                     District of Puerto Rico
 In re      ARIEL MERCADO ROSADO                                                                    Case No.   18-01283
                                                                                 Debtor(s)          Chapter    7




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing document(s), consisting of   7    page(s),
            and that they are true and correct to the best of my knowledge, information, and belief.




 Date July 11, 2018                                                  Signature   /s/ ARIEL MERCADO ROSADO
                                                                                 ARIEL MERCADO ROSADO
                                                                                 Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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